                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND



 CHAMBER OF COMMERCE OF THE
 UNITED STATES OF AMERICA, et al.,

                              Plaintiffs,
                                                   No. 1:21-cv-410-DKC
 v.

 PETER FRANCHOT,

                              Defendant.


                   CONSENT MOTION UNDER RULE 58(d) FOR
             ENTRY OF FINAL JUDGMENT IN A SEPARATE DOCUMENT

       Pursuant to Rule 58(d), plaintiffs respectfully request that the clerk “promptly pre-

pare, sign, and enter” a final judgment “set out in a separate document,” as required by

Rule 58(b)(1), so as to permit the filing of a notice of appeal. A proposed form of judgment

is attached hereto. In support of this request, plaintiffs state as follows:

       1. On April 30, 2021, plaintiffs filed an amended complaint alleging four claims.

Dkt. 25. Defendant moved to dismiss each claim (Dkt. 29), and plaintiffs cross-moved for

summary judgment (Dkt. 31).

       2. On March 4, 2022, the Court entered an order dismissing Counts I, II, and III of

the amended complaint. Dkt. 66. The dismissal was for lack of federal-court jurisdiction

and, thus, without prejudice. Id.

       3. Plaintiffs’ fourth claim proceeded to further briefing. See Dkt. 66 at 16-17. On

December 2, 2022, the Court entered an order dismissing Count IV. Dkt. 98. The dismissal

was on mootness grounds and, thus, without prejudice. Id.


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       4. The Court’s orders of March 4, 2022, and December 2, 2022, have adjudicated

all the claims of all the parties and, together, finally “denie[d] all relief.” Fed. R. Civ. P.

54(b)(1)(C). Accordingly, “the clerk must, without awaiting the court’s direction, prompt-

ly prepare, sign, and enter [a final] judgment” that is “set out in a separate document” so

as to permit the filing of a notice of appeal. Fed. R. Civ. P. 54(a), (b)(1).

       5. Counsel for the defendant has indicated that the defendant consents to the relief

requested.

       WHEREFORE, the clerk should enter a final judgment set out in a separate docu-

ment. See Fed. R. Civ. 58(a).


Dated: December 7, 2022                             Respectfully submitted,

                                                    /s/ Michael B. Kimberly
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